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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR01-101-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   JOHN CARLTON PETRUS,                 )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on April 14, 2006. The United States was represented by AUSA Ye-Ting Woo and the

16 defendant by Jeffrey Smith. The proceedings were recorded on cassette tape.

17         Defendant had been sentenced on or about February 1, 2002 by the Honorable Robert S.

18 Lasnik on a charge of Conspiracy to Manufacture 50 Grams or More of Methamphetamine and

19 sentenced to 60 Months Custody, 5 years Supervised Release. (Dkt. 603.)

20         The conditions of supervised release included requirements that defendant comply with all

21 local, state, and federal laws and with the standard conditions of supervision. Other special

22 conditions included no firearms, mandatory drug testing, narcotic addiction or drug dependency

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 treatment and testing, refrain from alcohol and other intoxicants, submit to search, and provide

02 access to financial information.

03          On September 27, 2005, the conditions of supervised release were modified to require

04 participation in a home confinement program with electronic monitoring for up to 60 days. (Dkt.

05 1126.)

06          On December 8, 2005, defendant admitted to violating the conditions of supervised release

07 by driving under the influence, failing to report police contact within 72 hours, and failing to

08 appear for drug testing. The defendant was remanded to custody for seventy five days, with

09 supervised release for fifty-five months.

10          In an application dated April 3, 2006 (Dkt 1153), U.S. Probation Officer Brian Facklam

11 alleged the following violations of the conditions of probation:

12          1.     Failing to reside at a community corrections center for 75 days by absconding on

13 March 29, 2006 in violation of special condition 6.

14          2.     Failing to appear for drug testing on February 9, March 14, 27, and 31, 2006 in

15 violation of special condition 3.

16          Defendant was advised in full as to those charges and as to his constitutional rights.

17          Defendant admitted each of the alleged violations and waived any evidentiary hearing as

18 to whether they occurred.

19          I therefore recommend the Court find defendant violated his supervised release as alleged

20 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

21 set before Judge Lasnik.

22 / / /

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 14th day of April , 2006.



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04                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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     cc:    District Judge:               Honorable Robert S. Lasnik
07          AUSA:                         Ye-Ting Woo
            Defendant’s attorney:         Jeffrey Smith
08          Probation officer:            Brian Facklam

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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